                      Case 18-14808                    Doc 3         Filed 12/29/18 Entered 12/29/18 16:00:33                                      Desc Main
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 Fill in this information to identify the case:
 Debtor name IDL Development, Inc.
 United States Bankruptcy Court for the: DISTRICT OF MASSACHUSETTS -                                                                                  Check if this is an
                                                EASTERN DIVISION
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Continuum Energy                                                                       Contingent                                                                    $9,500,000.00
 Technologies, LLC                                                                      Unliquidated
 421 Currant Road                                                                       Disputed
 Fall River, MA 02720
 T.J. Crotty TTEE &                                             Money Loaned                                                                                          $5,073,797.71
 S.K. Crotty TTEE
 c/o Battery Global
 Advisors
 1 Marina Park Drive,
 Suite 1150
 Boston, MA 02210
 Goodwin Procter                                                Legal Services                                                                                        $2,285,576.57
 LLP
 100 Northern
 Avenue
 Boston, MA 02210
 Ebur Investments,                                              Settlement                                                                                            $1,579,630.00
 LLC
 c/o Dentons US LLP
 Attn: Karl V.
 Hopkins, Esq.
 1221 McKinney
 Street, Suite 1900
 Houston, TX 77010
 Baerlein & Partners                                            Professional                                                                                              $10,000.00
 316 Stuart Street                                              Services
 Boston, MA 02116
 Airgas USA, LLC                                                Trade                                                                                                       $2,371.28
 P.O. Box 802576
 Chicago, IL
 60680-2576
 Libby Hoopes P.C.                                              Legal Services                                                                                              $2,341.50
 399 Boylston Street
 Boston, MA 02116
 McMaster-Carr                                                  Trade                                                                                                         $866.91
 P.O. Box 7690
 Chicago, IL
 60680-7960

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 Debtor    IDL Development, Inc.                                                                              Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Horizon Nominee                                                Repairs                                                                                                       $789.89
 Realty Trust II
 Warren G. Miller
 Horizon Realty
 Trusts
 15 Court Square,
 Suite 250
 Boston, MA 02108
 Verizon                                                        Phone Service                                                                                                 $238.22
 P.O. Box 15124
 Albany, NY
 12212-5124




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